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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re Application of Vale S.A., Vale Holdings
 B.V., and Vale International S.A. for an Order
                                                  Case No.
 Pursuant to 28 U.S.C. § 1782 to Conduct
 Discovery for Use in Foreign Proceedings




  MEMORANDUM OF LAW IN SUPPORT OF EX PARTE APPLICATION FOR AN
 ORDER PURSUANT TO 28 U.S.C. § 1782 TO CONDUCT DISCOVERY FOR USE IN
                      FOREIGN PROCEEDINGS




CLEARY GOTTLIEB STEEN & HAMILTON LLP

Jeffrey A. Rosenthal
Lisa M. Schweitzer
Lisa Vicens
One Liberty Plaza
New York, New York 10006
Telephone: (212) 225 2000

Attorneys for Vale S.A, Vale Holdings B.V., and
Vale International S.A.
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                                    PRELIMINARY STATEMENT

        By this application, Vale S.A., Vale Holdings B.V., and Vale International S.A.

(collectively, “Vale”) seek discovery under 28 U.S.C. § 1782 for use in proceedings pending in

the United Kingdom before the High Court of Justice, Business and Property Courts of England

and Wales, Commercial Court (QBD) (the “High Court”) against Benjamin (Beny) Steinmetz,

Dag Lars Cramer, Marcus Struik, Asher Avidan, Joseph Tchelet, David Clark, the Balda

Foundation (“Balda”), and Nysco Management Corp. (“Nysco”) (together, the “Defendants”)

(the “English Proceedings”) from Manhattan real estate investors and developers HFZ Capital

Group LLC (“HFZ”), its principals, agents, and related corporate entities (the “HFZ Entities”), as

well as entities tied to RFR Holding LLC (“RFR”) and Signa Holdings GmbH (“Signa”) that

purchased the Chrysler Building (the “Chrysler Entities,” and together with the HFZ Entities,

“Respondents”)).1

        Defendants were protagonists behind a scheme to illegally gain valuable mining rights

through bribery of government officials in the Republic of Guinea and fraudulently induce Vale

to pay $500 million to enter into a joint venture (the “VBG Joint Venture”) with BSG Resources

Limited (“BSGR”) and to invest more than an additional $746 million to develop the mining




1
         Vale seeks discovery from (i) HFZ Capital Group LLC; (ii) HFZ’s principals, Ziel Feldman, Helene
Feldman, Nir Meir, and John Shannon, and a related trust, the Feldman Family 2007 Trust; (iii) Defendants’ agent,
Kenneth Henderson, and his law firm Bryan Cave Leighton Paisner LLP; (iv) the following entities that hold or have
held an interest in properties connected to HFZ and Defendants: Chatsworth Realty 340 LLC, HFZ 344 West 72nd
Street Owner LLC, Chatsworth Realty Corp., 215 Chrystie LLC, HFZ 40 Broad Street LLC, HFZ Highline Property
Owner LLC, HFZ Highline Retail Owner LLC, HFZ Highline LLC, HFZ 501 West LLC, 20 West 40 Bryant Park
Owner LLC, HFZ Bryant Park Owner LLC, Tarpley Belnord Corp., Perfectus Real Estate Corp., HFZ 235 West
75th Street Owner LLC, HFZ 301 West 53rd Street Owner LLC, HFZ 88 Lexington Avenue Owner LLC, HFZ 90
Lexington Avenue Owner LLC, HFZ KIK 30th Street Owner LLC, HFZ West 30th Street Partners LLC, HFZ KIK
30th Street LLC, HFZ KIK 30th Street Mezzanine LLC, 76 Eleventh Avenue Property Owner LLC, and Fine Arts
NY LLC; (v) RFR Holding LLC (“RFR”); (vi) RFR’s founder and principal, Aby Rosen; and (vii) R&S Chrysler
LLC and RFR Realty LLC, entities that hold or have held an interest in the Chrysler Building.
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concessions.2 The lion’s share of Vale’s $500 million payment was immediately funneled up

from BSGR through its parent Nysco to its ultimate parent Balda, a Liechtenstein trust, of which

Steinmetz and his family are the sole beneficiaries. The other Defendants were all rewarded with

sizable bonuses after BSGR closed the deal with Vale. In the English Proceedings, Vale seeks to

recover, inter alia, the traceable proceeds of its payments to BSGR from Defendants.

         A historical snapshot of publicly available evidence and documents produced in related

proceedings suggests that Defendants invested a portion of their ill-gotten gains in valuable and

iconic real estate located in Manhattan through joint ventures with HFZ (the “BSG-HFZ JV”)

and Signa Holdings GmbH (the “BSG-Signa JV”). By this Section 1782 petition, Vale seeks to

obtain relevant information about the full scope and current status of Defendants’ real estate

investments in this District in order to locate the traceable proceeds of Vale’s payments to

Defendants. Proposed subpoenas to the HFZ Entities and Chrysler Entities are annexed as

Exhibits A-II to the Declaration of Jeffrey A. Rosenthal filed in support of this application (the

“Subpoenas”).

         As demonstrated below, Section 1782’s statutory requirements are easily satisfied here,

and the discretionary factors relevant to the adjudication of an application to conduct discovery

pursuant to Section 1782 all weigh in favor of granting the instant application for leave to serve

the Subpoenas.




2
          Defendants Steinmetz and Avidan were arrested in Israel, and Steinmetz was indicted in Switzerland, for
their roles in this bribery scheme, and one of Defendants’ agents, Frédéric Cilins, was convicted of obstruction of
justice in the Southern District of New York and sentenced to 24 months in prison for his role in trying to cover it
up. Judgment, United States v. Cilins, No. 13-cr-315 (WHP) (S.D.N.Y. July 29, 2014), ECF No. 71.

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                                         BACKGROUND

I.     Defendants’ Scheme of Bribery and Corruption

       In 2008, BSGR obtained rights from the Guinean government to develop iron ore mining

concessions in the Simandou region of Guinea. Ex. JJ, Vale S.A. v. BSG Resources Ltd., LCIA

Arb. No. 142683, ¶¶ 241-242 (Apr. 4, 2019) (the “Award”). BSGR then approached Vale to sell

it an interest in these mining concessions, as BSGR needed a partner that could both invest

capital and offer technical expertise for their development. Id. ¶ 6. Vale conducted substantial

due diligence to understand how BSGR obtained its mining concessions and to assure itself that

BSGR had not engaged in any corrupt activities. Id. ¶¶ 267-269. During due diligence, Vale

required BSGR (and its namesake, Beny Steinmetz) to certify that it did not engage in bribery

and to specifically disclose, inter alia, the identities of any intermediaries BSGR used in its

efforts to obtain the mining rights, any material contracts regarding its rights in Simandou, and

any government officials with whom it had financial relationships. BSGR and Steinmetz (and

the other Defendants) repeatedly represented and warranted to Vale that BSGR had lawfully

obtained its mining rights in Guinea, that it had not used any undisclosed consultants or

intermediaries, and that it had disclosed all material documents and information concerning the

mining concessions. Id.¶¶ 268, 676.

       On April 30, 2010, Vale entered into a joint venture agreement and shareholders’

agreement with BSGR whereby Vale obtained 51% of BSGR’s interest in the entity that held the

Guinean mining licenses in exchange for $500 million up front and future milestone payments.

Ex. KK, Vale S.A. v. Steinmetz, No. CL-2019-000723, Particulars of Claim ¶¶ 2-4 (Jan. 15,

2020) (the “Particulars of Claim”). Vale subsequently invested more than $746 million in

connection with the joint venture. Id. ¶ 4.



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       In late 2012, the Guinean Technical Committee for the Review of Mining Titles and

Agreements (the “Technical Committee”) initiated an investigation into the means by which

BSGR acquired its mining licenses. Id. ¶ 104. The Technical Committee explained that it was

investigating credible allegations that BSGR had acquired the rights to Simandou Blocks 1 and 2

in 2008 through bribery of Guinean government officials, including Mamadie Touré, the wife of

the late President Lansana Conté, both directly and through intermediaries, such as BSGR’s

agent Frédéric Cilins. Ex. JJ, Award ¶¶ 286-87. During the Technical Committee’s

investigation, Cilins traveled to the United States to visit Mme Touré in an attempt to convince

her to destroy certain incriminating documents. Id. ¶¶ 290, 419. Unbeknownst to Cilins, Mme

Touré had become a cooperating witness with the FBI, which taped their conversations. The FBI

audio recordings of their communications included Cilins’s statements to Mme Touré that he had

been sent by Steinmetz. Id. ¶¶ 419.9, 574.7. After holding a hearing in December 2013, the

Technical Committee published a report finding that the mining licenses had been procured by

bribery and corruption, and the Government of Guinea withdrew BSGR’s mining licenses in

April 2014. Ex. KK, Particulars of Claim ¶ 104.

       Following this withdrawal, on April 28, 2014, Vale commenced an arbitration in England

against BSGR at the London Court of International Arbitration (the “Arbitration”), claiming

damages for fraudulent misrepresentation, breach of warranty, and frustration. Ex. JJ, Award ¶

1. On April 4, 2019, the Arbitral Tribunal found BSGR liable for the fraudulent

misrepresentations that had been made during the joint venture negotiation process and awarded

Vale more than $2 billion in damages, interest, and costs. Id. ¶¶ 1004-05. Vale promptly filed a

proceeding in the High Court under the UK Arbitration Act for recognition and enforcement of

the Award, as well as similar enforcement proceedings in the United States under the Federal



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Arbitration Act. On May 9, 2019, the High Court granted Vale permission to enforce the Award

in the same manner as a judgment or order of the High Court. Ex. LL. The High Court rejected

BSGR’s application to set aside or stay enforcement of the Award on September 20, 2019, Ex.

MM, and denied BSGR’s challenge to the Award on November 29, 2019, Ex. NN. On March 5,

2020, Judge Broderick of the United States District Court for the Southern District of New York

granted Vale’s petition for recognition and enforcement of the Award, and issued a

$2,172,833,761.15 judgment in Vale’s favor. Ex. OO, Judgment, Vale S.A. v. BSG Resources

Ltd., No. 19-cv-3619-VSB (S.D.N.Y. Mar. 5, 2020), ECF No. 51. Vale has not yet been able to

recover this amount from BSGR.

II.    The English Proceedings

       On November 22, 2019, in anticipation of the formal commencement of the English

Proceedings that are the subject of this Section 1782 petition, Vale filed an application in the

High Court for a worldwide freezing order against all Defendants, the terms of which require

Defendants to provide personal asset disclosure and disclosure in relation to, inter alia, Vale’s

proprietary claim to the traceable proceeds of the $500 million payment. On December 3, 2019,

the High Court granted the worldwide freezing order, finding that there was a real risk that the

Defendants would dissipate their assets so that a judgment against them would go unsatisfied.

Ex. PP, Vale S.A. v. Steinmetz, No. CL-2019-000723, Freezing Order (Dec. 3, 2019). The

Defendants had a deadline of February 7, 2020 to file any application to challenge the

jurisdiction of the High Court or discharge the worldwide freezing order. Ex. QQ, Vale S.A. v.

Steinmetz, No. CL-2019-000723, Freezing Order (Dec. 16, 2019). Not one Defendant filed any

such application.

       In the English Proceedings, Vale alleges that Defendants each made fraudulent

misrepresentations and entered into a conspiracy for the purpose of inducing Vale to enter into
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the joint venture with BSGR. Defendant Steinmetz is the founder, principal, ultimate beneficial

owner, and namesake of BSGR, and the other individual Defendants were senior executives of

BSGR at the times of these payments. Ex. KK, Particulars of Claim ¶¶ 7, 15-25, 108. Defendant

Balda wholly owned Defendant Nysco, which in turn wholly owned BSGR. Id. ¶¶ 16.

Steinmetz and his family are the sole beneficiaries of Balda. Id. ¶ 16. Steinmetz was the

principal beneficiary of Vale’s initial $500 million payment, and each of the Defendants received

a cut of this payment as a reward for their part in the scheme to obtain the mining licenses and

fraudulently induce Vale to enter the joint venture. Id. ¶¶ 17, 20, 22-25. Vale alleges that (1) the

Defendants made fraudulent misrepresentations in connection with BSGR’s procurement of the

mining concessions over iron ore reserves in the Simandou region of the Republic of Guinea;

and (2) Defendants conspired and combined to conceal from Vale the fact that they had paid or

promised to pay bribes in order to procure Vale to enter into the VBG Joint Venture; made

fraudulent misrepresentations in furtherance of the conspiracy; induced Vale to enter into the

VBG Joint Venture, and as a result, caused Vale to incur substantial losses in the form of $500

million paid to BSGR under the Joint Venture Agreement on April 30, 2010 and approximately

$746 million paid into or for the benefit of the joint venture thereafter. Id. ¶¶ 105-124.

       As a result, Vale is seeking $1.264 billion in damages plus interest under various legal

theories. Id. ¶¶ 121-24. Vale also asserts a proprietary claim under English law to the traceable

proceeds of its payments to BSGR and Defendants. Id. ¶¶ 118-20. Such a claim allows a victim

of fraud to trace and recover the proceeds of the fraud, in distinction from a damages claim. In

connection with this claim, Vale seeks all necessary accounts and inquiries to trace and identify

the traceable proceeds of the funds received by the Defendants. Id. at 76. By this Section 1782

petition, Vale seeks to identify the traceable proceeds of its payment to BSGR through



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investments in real estate located in the Southern District of New York in which certain

Defendants and entities controlled by them are believed to hold a financial interest.

III.    Defendants’ Investments in New York Real Estate

        Steinmetz has held an interest in New York real estate since at least the early 2000s

through another wholly-owned subsidiary of Nysco and Balda, BSG Real Estate (“BSG RE”). In

2003, BSG RE, along with other co-venturers, purchased a commercial building located at 237

Park Avenue for $455 million.3 This transaction was funded by Balda at Steinmetz’s direction.4

        A.       Joint Venture with HFZ

        Steinmetz’s investments in New York real estate grew significantly in number and scale

shortly after receiving the proceeds of Vale’s $500 million payment in 2010. At that time, BSG

RE became linked with HFZ Capital Group LLC (“HFZ”), a real estate development and

investment company based in Manhattan. Like BSGR and BSG RE, HFZ derives its name from

the initials of its founder and principal Ziel Feldman.5 While HFZ was founded in 2005, its

ambitions in the New York real estate market have grown exponentially since Steinmetz became

its benefactor after he received Vale’s payment in 2010. The BSG-HFZ JV eventually expanded

to encompass at least a dozen marquee properties in Manhattan, as well as at least one property

in Chicago.




3
        See Ex. RR, Case Study: 237 Park Avenue, Monday Properties, https://www.mondayre.com/case-
study/237-park-avenue (last visited Apr. 24, 2020).
4
          See Ex. SS, Balda Resolution, Sept. 25, 2003 (BSGR_LCIA_2_0039225); Ex. TT, Balda Meeting Minutes
at 1, Oct. 8, 2003 (BSGR_LCIA_2_0039217) (“The transaction is scheduled to close within 48 hours and Mr B.
Steinmetz the investment advisor of Balda Foundation is extremely anxious that this investment opportunity should
not be missed.”).
5
         See Ex. UU, Vivian Marino, Ziel Feldman, N.Y. Times (Jan. 8, 2013),
https://www.nytimes.com/2013/01/09/realestate/commercial/the-30-minute-interview-ziel-feldman.html (“Q. What
does HFZ stand for? A. My wife’s name is Helene; F is Feldman; and Z is Ziel.”). Helene Feldman also serves as a
principal of HFZ.

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        Media reports have described Steinmetz as a “known backer” of HFZ,6 which both HFZ

and Steinmetz have denied emphatically.7 However, publicly-available news articles and real

estate filings, as well as documents produced by BSGR in the Arbitration and other proceedings,

give the lie to these public denials. In a 2013 interview, Chris Papachristophorou, a member of

BSG RE’s senior management described how he had responsibility for BSG RE’s “joint

venture[] . . . with Manhattan developer HFZ aimed at condominium development.”8 And

Steinmetz’s emails produced in the Arbitration make frequent reference to the BSG-HFZ JV.9

        Steinmetz frequently corresponded with HFZ’s founder Feldman, HFZ’s other Managing

Principal Nir Meir, and its Chief Investment Officer John Shannon, about managing the BSG-

HFZ JV’s assets and real estate investment opportunities in New York.10 Steinmetz enlisted

Papachristophorou to run the day-to-day operations of the BSG-HFZ JV on behalf of BSG RE,11

and Luv D. Shah served as a Senior Principal of BSG RE while working out of HFZ’s offices at


6
          See, e.g., Ex. VV, Beny Steinmetz, Said to Be a Backer of HFZ, Is Under House Arrest Due to Bribery
Probe, Real Deal (Dec. 20, 2016), https://therealdeal.com/2016/12/20/beny-steinmetz-said-to-be-a-backer-of-hfz-
capital-is-under-house-arrest-due-to-bribery-probe/.
7
          See Ex. WW, Konrad Putzier, Rough Cut: How the Global Diamond Trade – from Cartels to War Zones –
Shaped New York’s Skyline, Real Deal (Apr. 3, 2018), https://globalpropertyinc.com/2018/04/03/rough-cut; Ex.
XX, E.B. Solomont, HFZ, Carlyle Split Up at 505 West 19th St., Real Deal (Jan. 4, 2017),
https://therealdeal.com/2017/01/04/hfz-carlyle-split-up-at-505-west-19th-st/.
8
         Ex. YY, Robin Marriott, Europe News: Papa’s Back, PERE News (Mar. 4, 2013),
https://www.perenews.com/europe-news-papas-back/ (“In addition [Papachristophorou] has responsibility for
BSGRE’s broader activities, primarily two joint ventures – one with Manhattan developer HFZ aimed at
condominium development . . . .”).
9
         Ex. ZZ, Email from C. Papachristophorou to B. Steinmetz at CGS&H p. 4, Jan. 25, 2013
(BSGR_LCIA_0023515) (“we need to add the new venture and [it’s] strategy and talk a bit more about the HFZ JV
and future strategy”); Ex. ZZ, Email from L. Shah to B. Steinmetz at CGS&H p. 5, Apr. 11, 2013
(BSGR_LCIA_0023556) (the “BSG-HFZ JV Job Posting”) (referring to “BSG Real Estate in its newly formed joint
venture with HFZ Capital, a prominent Manhattan-focused residential / mixed-use developer.”). This exhibit
derives from a 499-page Extraction Report from Beny Steinmetz’s Blackberry 9900 Bold, dated May 20, 2013, an
excerpt of which was Exhibit C-668 in the Arbitration. Phone numbers and other personally identifying information
have been redacted from this exhibit. Vale will provide a complete unredacted version of this exhibit at the Court’s
request.
10
        See generally Ex. ZZ.
11
         Ex. YY, Robin Marriott, Europe News: Papa’s Back, PERE News (Mar. 4, 2013),
https://www.perenews.com/europe-news-papas-back/

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600 Madison Avenue.12 When Shah sought to expand BSG RE’s team working out of HFZ’s

offices on the BSG-HFZ JV, he sought Steinmetz’s approval to post a job listing seeking a

qualified candidate to “serve as the representative of BSG Real Estate in its newly formed joint

venture with HFZ Capital, a prominent Manhattan-focused residential/mixed-use developer,”

with responsibilities including “[a]sset management of existing development transactions housed

within the joint venture” and “[r]eview and analysis (inclusive of financial modeling) of new

transactions within the NYC market.”13

        Steinmetz himself was deeply involved in the management of the BSG-HFZ JV,

receiving frequent proposals and updates from Meir and Shannon, and proposing to Meir that

they go together on roadshow investor meetings on behalf of the joint venture in Doha, Abu

Dhabi, and Saudi Arabia, as well as to market to U.S. and European investors.14

        Based on the limited evidence available to Vale in public filings and documents produced

in related proceedings (largely limited to a narrow time period in late 2012 to early 2013), the

specific real estate assets linked to the BSG-HFZ JV include:

              •   The Chatsworth, 344 West 72nd Street: On January 3, 2013, the Wall Street
                  Journal reported that HFZ and BSG RE had purchased the Chatsworth, “one of
                  the Upper West Side’s most prominent prewar buildings,” for $150 million.15 A
                  corporate organization chart produced by BSGR dated December 31, 2015 (the
                  “2015 Org Chart”) includes an entity titled “Loan Note Chatsworth Asset NY”
                  owned by Balda through Nysco and BSG RE.16 The title to this property has been
                  held by at least three entities with Ziel Feldman as their authorized signatory:
                  Chatsworth Realty 340 LLC, HFZ 344 West 72nd Street Owner LLC, and
                  Chatsworth Realty Corp.
12
        Ex. ZZ, BSG-HFZ Job Posting at CGS&H p. 5 (BSGR_LCIA_0023556).
13
        Id.
14
        Ex. ZZ, Email from B. Steinmetz to N. Meir at CGS&H p. 3, Feb. 17, 2013 (BSGR_LCIA_0023430).
15
         Ex. AAA, Laura Kusisto, Chatsworth Finds a Buyer, Wall Street J. (Jan. 3, 2013),
https://www.wsj.com/articles/SB10001424127887323874204578219651289873098.
16
          Ex. BBB, 2015 Org Chart (JA0010143); see also Ex. ZZ, Email from N. Meir to B. Steinmetz at CGS&H
p. 2, Oct. 31, 2012 (BSGR_LCIA_0023384) (email from Nir Meir to Beny Steinmetz dated Oct. 31, 2012 with the
subject line “Fwd: BSG-HFZ FUND SUMMARY” describing a potential investment in the Chatsworth).

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              •   The Public, 215 Chrystie Street: In December 2012, HFZ partnered with Ian
                  Schrager Companies and the Witkoff Group to develop the Public Hotel and
                  luxury condominiums on Chrystie Street. Meir and Steinmetz exchanged several
                  emails in October 2012 about financing the “Chrystie Street” project,17 two
                  months before this partnership purchased the property.18 The 2015 Org Chat
                  includes a “Loan Note Chrystie St Asset NY” held by BSG RE. 215 Chrystie
                  LLC currently holds title to this property.

              •   The Setai, 40 Broad Street: In April 2011, HFZ and Israel’s Acro Group
                  reportedly purchased a loan note for the Setai condominium for $80 million.19
                  The 2015 Org Chart shows that BSG RE held an interest in this loan note through
                  a variety of intermediate holding companies, including HFZ 40 Broad Street
                  Holdings LLC, HFZ 40 Broad Mezz, and HFZ 40 Broad Street LLC.20

              •   The Highline Development, 505 West 19th Street: Public property records
                  show that HFZ bought the land in October 2011 on which this high-end mixed use
                  property overlooking the Highline now sits. The 2015 Org Chart demonstrates
                  that BSG RE held a loan note related to “Highline Development NY.”21 At least
                  four entities with Feldman or other HFZ employees as their authorized signatories
                  have held an interest in this property: HFZ Highline Property Owner LLC, HFZ
                  Highline LLC, HFZ 501 West LLC, and HFZ Highline Retail Owner LLC.

              •   The Bryant, 16 West 40th Street: HFZ acquired a parking lot across from
                  Bryant Park in 2010 for $45 million.22 However, that lot sat undeveloped for
                  several years before HFZ obtained financing for the construction of a 33-story
                  mixed use tower, which began in September 2015. Meir sent Steinmetz a term
                  sheet for an investment in this property in May 2013,23 and the 2015 Org Chart
                  lists a “Loan Note Bryant Park NY” owned by BSG RE. The title to this property
                  has been held by two entities that list Ziel Feldman as their authorized signatory:
                  20 West 40 Bryant Park Owner LLC and HFZ Bryant Park Owner LLC.


17
        See Ex. ZZ, Email from N. Meir to B. Steinmetz at CGS&H p. 2, Oct. 31, 2012 (BSGR_LCIA_0023384).
18
        Ex. CCC, Eliot Brown & Josh Barbanel, Tenants’ Deal Removes Bar To New Tower, Wall Street J. (Dec.
28, 2012), https://www.wsj.com/articles/SB10001424127887324669104578206030681567260.
19
         See Ex. DDD, David Jones, Feldman’s HFZ and Acro Finalize $80M Deal for Setai, Real Deal (Apr. 5,
2011), https://therealdeal.com/2011/04/05/ziel-feldmans-hfz-and-arco-close-80m-deal-at-setai-40-broad-street-
brokered-by-lenny-sporn-from-prudential-douglas-elliman/.
20
        Ex. BBB, 2015 Org Chart (JA0010143).
21
        Id.
22
         Ex. EEE, Tim McKeough, On Bryant Park, David Chipperfield’s First New York Building, N.Y. Times
(Sept. 18, 2015), https://www.nytimes.com/2015/09/20/realestate/on-bryant-park-david-chipperfields-first-new-
york-building.html.
23
        See Ex. ZZ, Email from N. Meir to B. Steinmetz at CGS&H p. 6, May 14, 2013 (BSGR_LCIA_0023727).

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             •   The Belnord, 225 West 86th Street: Tarpley Belnord Corp (“Tarpley Belnord”)
                 has been a subsidiary of Balda and Nysco since at least July 2008.24 A corporate
                 organization chart produced by BSGR and dated 2008 (the “2008 Org Chart”)
                 describes Tarpley Belnord as owning “USA property” as a subsidiary of BSG
                 RE’s predecessor company Five Mounts Properties Ltd, Nysco, and ultimately
                 Balda.25 Tarpley Belnord’s authorized signatory is Kenneth L. Henderson of
                 Bryan Cave LLP, described in BSGR’s meeting minutes as Balda’s U.S.
                 counsel.26 Tarpley Belnord has since been renamed Perfectus Real Estate Corp.,
                 with its headquarters located at HFZ’s offices at 600 Madison Avenue. The Wall
                 Street Journal reported that HFZ bought the Belnord for $575 million in 2015.27

             •   The Westbrook Portfolio – 235 West 75th Street, 301 West 53rd Street, 88 &
                 90 Lexington Avenue: In July 2013, the Wall Street Journal reported that HFZ
                 made a deal for more than $600 million to purchase four Manhattan rental
                 buildings from Westbrook Partners, a privately held investment firm.28 The 2015
                 Org Chart shows that BSG RE held a “Loan Note West Brook Portfolio NY.”
                 These properties are held by four HFZ entities: HFZ 235 West 75th Street Owner
                 LLC, HFZ 301 West 53rd Street Owner LLC, HFZ 88 Lexington Avenue Owner
                 LLC, and HFZ 90 Lexington Avenue Owner LLC.

             •   The “Church Project,” 3 West 29th Street: In 2013, HFZ entered a deal with
                 the Reformed Protestant Dutch Church of the City of New York to develop an
                 office building next to the Marble Collegiate Church. The 2015 Org Chart shows
                 that BSG RE held a “Loan Note Church Asset NY,” and a document produced by
                 BSGR in the Arbitration describes a 2013 “Churchdeal . . . on behalf of the BSG-
                 HFZ venture . . . .”29 The HFZ entities affiliated with this property include HFZ
                 KIK 30th Street Owner LLC, HFZ West 30th Street Partners LLC, HFZ KIK 30th
                 Street LLC, HFZ KIK 30th Street Mezzanine LLC, and HFZ Capital Group LLC.

             •   The XI, 76 Eleventh Avenue: In May 2015, HFZ purchased a full-block
                 development site in Chelsea for $870 million, and has since built two ultra-luxury
                 residential towers on the lot. The Real Deal, citing four anonymous sources,



24
      Ex. FFF, Balda Meeting Minutes, Sept. 21, 2009 (BSGR_LCIA_2_0037307); Ex. GGG, 2008 Org Chart
(BSGR_LCIA_2_0040240).
25
         Ex. GGG, 2008 Org Chart. The notation below Nysco on the 2008 Org Chart states “BVI / MOSFON,” a
reference to Defendants’ now-notorious BVI agents, Mossack Fonseca & Co.
26
        Ex. FFF, Balda Meeting Minutes, Sept. 21, 2009 (BSGR_LCIA_2_0037307).
27
         Ex. HHH, Josh Barbanel, The Belnord on Upper West Side Gets a New Owner, Wall Street J. (Mar. 12,
2015), https://www.wsj.com/articles/the-belnord-on-upper-west-side-gets-a-new-owner-1426210467.
28
         Ex. III, Josh Barbanel, Developer Sets Deal to Buy 4 Manhattan Buildings, Wall Street J. (July 17, 2013),
https://www.wsj.com/articles/SB10001424127887323993804578612083299146540.
29
        Ex. JJJ, Email from H. Meijer to D. Cramer et al., Apr. 10, 2013 (BSGR_LCIA_0036456).

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                  reported that Steinmetz provided financing for this project.30 Feldman is the
                  authorized signatory for 76 Eleventh Avenue Property Owner LLC, the entity that
                  holds title to this property.

              •   500 North Michigan Avenue, Chicago, IL: In November 2017, two entities
                  affiliated with Steinmetz, 500 NMA Acquisition Corp. LLC (“500 NMA”) and
                  Fine Arts NY LLC (“Fine Arts”), purchased 500 North Michigan Avenue, a 24-
                  story office building on the Magnificent Mile in Chicago, Illinois. 500 NMA’s
                  registered address is located at Bryan Cave’s Manhattan offices, c/o Tarpley 500
                  NMA Corp., and Fine Arts also lists a Manhattan address. At the time of
                  purchase, 500 NMA and Fine Arts were respectively represented by two known
                  agents and nominees of Steinmetz’s, Gregg Blackstock and Marcos Camhis.31 In
                  July 2019, Fine Arts transferred its ownership to 500 NMA Owner Holding LLC.
                  HFZ now lists 500 North Michigan Avenue on its website as one of its portfolio
                  properties.32

         B.       Joint Venture with Signa

         BSG RE entered into a separate joint venture with Signa Holding GmBH (“Signa”), an

Austrian real estate company founded by Rene Benko (the “BSG-Signa JV”).33 While the BSG-

Signa JV has predominantly focused on European properties, news reports indicate that Signa

has recently entered into the Manhattan real estate market with Steinmetz’s backing. In March

2019, Signa and RFR Holding LLC, a New York corporation founded by New York resident

Aby Rosen, purchased the Chrysler Building for $150 million. According to The Wall Street




30
         Ex. KKK, Beny Steinmetz, Reported Backer Of Chrysler Building Owner and HFZ, To Be Tried in
Guinean Bribery Scandal, Real Deal (Aug. 13, 2019), https://therealdeal.com/2019/08/13/beny-steinmetz-reported-
backer-of-chrysler-building-owner-and-hfz-to-be-tried-in-guinean-bribery-scandal/; Ex. WW, Konrad Putzier,
Rough Cut: How the Global Diamond Trade – from Cartels to War Zones – Shaped New York’s Skyline, Real Deal
(Apr. 3, 2018), https://globalpropertyinc.com/2018/04/03/rough-cut.
31
          Camhis is a director of Niron Metals Plc, the entity that is to be awarded valuable Guinean mining rights as
a result of BSGR’s purported entry into a settlement of a separate ICSID arbitration negotiated between Steinmetz
and the Government of Guinea. Blackstock worked for Onyx Financial Advisors Limited, BSGR’s administrative
back office, for six years, and has been a director of numerous corporations controlled by or affiliated with
Steinmetz.
32
        See Ex. LLL, 500 North Michigan Avenue, HFZ Capital Group, https://www.hfzcap.com/portfolio/500-
north-michigan-avenue (last visited Apr. 24, 2020).
33
         See Ex. YY, Robin Marriott, Europe News: Papa’s Back, PERE News (Mar. 4, 2013),
https://www.perenews.com/europe-news-papas-back/.

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Journal, Steinmetz was one of Benko’s financial backers connected to this acquisition.34 The

Chrysler Building is currently owned by R&S Chrysler LLC, an affiliate of RFR Holding LLC,

and is managed by RFR Realty LLC. All three entities are located in Manhattan.

                                              ARGUMENT

I.      The Subpoenas Sought Are Reasonably Calculated to Lead to the Discovery Of
        Evidence Relevant to and for Use in Foreign Proceedings

        The information sought by the Subpoenas is “presumptively discoverable under [Section]

1782” as the Subpoenas are reasonably calculated to lead to the discovery of evidence relevant to

the English Proceedings. In re Bayer AG, 146 F.3d 188, 196 (3d Cir. 1998). Vale is asserting

claims in the English Proceedings against the Defendants for, inter alia, recovery of the traceable

proceeds of the $500 million payment made by Vale on April 30, 2010. Respondents entered

into joint ventures with entities owned and controlled by Defendants Steinmetz, Balda, and

Nysco. On information and belief, these joint ventures invested funds in New York (and

Chicago) real estate derived from Vale’s $500 million payment to BSGR.

        In the English Proceedings, Vale claims “[a] declaration that, to the extent each of the

Defendants received part of the proceeds of the US$500 million paid […] to BSGR on 30 April

2010, that Defendant holds those funds (or the traceable proceeds thereof) on constructive trust”

for Vale. See Ex. KK, Particulars of Claim ¶ 126(3). In support of this remedy, Vale is entitled

to “all necessary accounts and inquiries, including but not limited to those necessary to follow,

trace, and identify the traceable proceeds of the funds received by the Defendants . . . .” See id.

¶ 126 (4). The discovery sought here is reasonably calculated for the purpose of determining




34
        Ex. MMM, Konrad Putzier, Meet the Other Man Who Bought the Chrysler Building, Wall Street J. (Jul.
23, 2019), https://www.wsj.com/articles/meet-the-other-man-who-bought-the-chrysler-building-11563879601.



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whether the money used to finance any of Respondents’ real estate transactions can be traced to

Vale’s payment.

II.    The Application Meets Section 1782’s Statutory Standards

       Section 1782 “provide[s] federal-court assistance in gathering evidence for use in foreign

tribunals.” Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). The relevant

statutory text of 28 U.S.C. § 1782 states:

       The district court of the district in which a person resides or is found may order him
       to give his testimony or statement or to produce a document or other thing for use
       in a proceeding in a foreign or international tribunal . . . The order may be made
       . . . upon the application of any interested person and may direct that the testimony
       or statement be given, or the document or other thing be produced, before a person
       appointed by the court . . . . To the extent that the order does not prescribe
       otherwise, the testimony or statement shall be taken, and the document or other
       produced, in accordance with the Federal Rules of Civil Procedure.

       The Second Circuit has distilled three elements from this statutory text, holding that a

district court may grant a Section 1782 petition if: “(1) the person from whom discovery is

sought resides (or is found) in the district of the district court to which the application is made,

(2) the discovery is for use in a foreign proceeding before a foreign tribunal, and (3) the

application is made by a foreign or international tribunal or any interested person.” Brandi-

Dohrn v. IKB Deutsche Industriebank AG, 673 F.3d 76, 80 (2d Cir. 2012). These requirements

are easily met here.

       First, Respondents all “reside” or are “found” in this district. The Second Circuit defines

this element broadly, holding that it “extends § 1782’s reach to the limits of personal jurisdiction

consistent with due process.” In re del Valle Ruiz, 939 F.3d 520, 523 (2d Cir. 2019).

Corporations that are incorporated in and/or maintain their principal places of business in New

York satisfy this standard. See, e.g., In re Dickson, No. 20-mc-51 (RA), 2020 WL 550271, at *1

(S.D.N.Y. Feb. 4, 2020) (holding that petitioners met this requirements where they “aver that all


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Respondents ‘conduct business in New York and maintain offices or their principal places of

business in New York or are incorporated in New York’”). As described in Appendix A, the

relevant offices listed in public property filings for the corporate Respondents are all located in

Manhattan. The individual Respondents are principals of the corporate Respondents, and, on

information and belief, are domiciled within this District.

       Second, the discovery sought is for use in proceedings before a “foreign or international

tribunal” – the High Court. See, e.g., In re Simetra Global Assets Ltd., No. 16-2389 (JLL)

(JAD), 2016 WL 3018692, at *3 (D.N.J. May 25, 2016) (holding that proceedings before the

High Court satisfy the “foreign tribunal” requirement); In re IKB Deutsche Industriebank AG,

No. 09-CV-7852, 2010 WL 1526070, at *1 & n.1, *6 (N.D. Ill. Apr. 8, 2010) (same).

       Third, as a litigant in the English Proceedings, Vale is an interested person within the

meaning of Section 1782. Intel, 542 U.S. at 256 (“No doubt litigants are included among, and

may be the most common example of, the ‘interested person[s]’ who may invoke § 1782.”); see

also In re Iraq Telecom Ltd., 18-MC-458 (LGS) (OTW), 2019 WL 3798059, at *3 n.4 (S.D.N.Y.

Aug. 13, 2019) (“[A]s the plaintiff in the foreign proceedings, Petitioner certainly qualifies as an

‘interested person.’”).

       Finally, “it is neither uncommon nor improper for district courts to grant applications

made pursuant to § 1782 ex parte. The respondent[s’] due process rights are not violated

because [they] can later challenge any discovery request by moving to quash pursuant to Federal

Rule of Civil Procedure 45(c)(3).” Gushlak v. Gushlak, 486 F. App’x 215, 217 (2d Cir. 2012)

(collecting cases); see also In re Hornbeam Corp., 722 F. App’x 7, 10-11 (2d Cir. 2018)

(rejecting respondent’s argument that the district court committed error in granting Section 1782




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application ex parte). If the Court grants this application, Vale will serve the Subpoenas, and

Respondents will have an opportunity to object and be heard.

III.    The Discretionary Factors Under Section 1782 All Favor Discovery

        The Supreme Court has articulated four factors to guide district courts’ discretion to grant

a Section 1782 petition: (1) whether “the person from whom discovery is sought is a participant

in the foreign proceeding,” in which event “the need for § 1782(a) aid generally is not as

apparent as it ordinarily is when evidence is sought from a nonparticipant in the matter arising

abroad”; (2) “the nature of the foreign tribunal, the character of the proceedings underway

abroad, and the receptivity of the foreign government or the court or agency abroad to U.S.

federal-court assistance”; (3) “whether the § 1782(a) request conceals an attempt to circumvent

foreign proof-gathering restrictions or other policies of a foreign country or the United States;

and (4) whether the request is “unduly intrusive or burdensome.” Intel, 542 U.S. at 264-65. All

four factors favor discovery here. This Court should accordingly exercise its discretion and grant

Vale leave to serve the Subpoenas on Respondents.

        First, none of the Respondents is a party in the English Proceedings, and all reside or are

found in the United States. Thus, they are “outside the foreign tribunal’s jurisdictional reach;

hence, their evidence, available in the United States, may be unobtainable absent § 1782(a) aid.”

Intel, 542 U.S. at 264.

        Second, the “presumption in favor of foreign tribunal receptivity [] can only be offset by

reliable evidence that the tribunal would reject the evidence.” In re Simetra, 2016 WL 3018692,

at *4; see Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir. 1995) (“[A] district

court’s inquiry into the discoverability of requested materials should consider only authoritative

proof that a foreign tribunal would reject evidence obtained with the aid of section 1782.”).

Federal courts have routinely found that courts in the United Kingdom are receptive to U.S.
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federal court assistance pursuant to Section 1782. See Intel, 542 U.S. at 262 (describing an

English court’s receptivity to “a litigant in English proceedings seeking assistance in the United

States under § 1782”); In re Societe d’Etude de Realisation et d’Exploitation pour le Traitement

du Mais, No. C13-80261-MISC LHK (HRL), 2013 WL 6141655, at *2 (N.D. Cal. Nov. 21,

2013) (finding that “no policy in . . . the UK would cause [authorities] to reject U.S. assistance”);

In re Guy, No. M 19-96, 2004 WL 1857580, at **2, 4 (S.D.N.Y. Aug. 19, 2004) (stating that

English courts “hear[] the testimony of witnesses and receive[] documents in evidence, very

much as American courts do,” and authorizing discovery for use in the High Court of Justice,

Chancery Division, England and Wales). Indeed, courts have routinely applied Section 1782 to

authorize discovery for use in the High Court. See, e.g., In re PJSC Uralkali, No. C18-1673JLR,

2019 WL 291673, at *7 (W.D. Wash. Jan. 23, 2019) (granting petitioner’s application pursuant

to Section 1782 for oral testimony and production of documents for use in proceedings before

the High Court); In re IKB Deutsche, 2010 WL 1526070, at *1 & n.1, *6 (denying motion to

vacate order granting Section 1782 application seeking discovery for use in litigation pending in

the High Court).

       Third, this application is not an attempt to circumvent limitations on disclosure or

discovery in the English proceedings. This factor requires only that the discovery be sought in

good faith. See In re Gorsoan Ltd., No. 18-MC-431 (RA), 2020 WL 409729, at *8 (S.D.N.Y.

Jan. 24, 2020) (placing the burden of proving bad faith on the party opposing the Section 1782

application (citing In re Hansainvest Hanseatische Investment-GmbH, 364 F. Supp. 3d 243, 251

(S.D.N.Y. 2018))), appeal docketed, No. 20-678 (2d Cir. Feb. 21, 2020). Although Section 1782

does not require that the material sought be discoverable in a foreign proceeding, Intel, 542 U.S.

at 253, the High Court does permit and is receptive to document disclosure. See, e.g., In re



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Societe d’Etude, 2013 WL 6141655, at *2. Such disclosure is properly sought in this District, as

Respondents are non-parties to the English Proceedings and reside or are found here.

       Fourth, Respondents will face no undue intrusion or burden if compelled to comply with

the Subpoenas. Federal courts favor discovery under Section 1782 where the “discovery sought

appears to be sufficiently tailored to the litigation issues for which production is sought.” In re

Bloomfield Inv. Res. Corp., 18 MC 2608 (NGG) (CLP), 2018 WL 6418421, at *7 (E.D.N.Y.

Dec. 6, 2018) (citing In re Gemeinshcaftspraxis Dr. Med. Schottdorf, No. Civ. M19-88 (BSJ),

2006 WL 3844464, at *8 (S.D.N.Y. Dec. 29, 2006)). Pursuant to Section 1782’s plain terms,

this analysis is guided by the Federal Rules of Civil Procedure, in this case Rules 26 and 45,

which govern third-party discovery. Under Rule 45, “[w]hether a subpoena imposes an ‘undue

burden’ depends on such factors as relevance, the need of the party for the documents, the

breadth of the document request, the time period covered by it, the particularity with which the

documents are described and the burden imposed.” In re Gorsoan, 2020 WL 409729, at *9

(quoting Koch v. Pechota, No. 10-CV-9152, 2012 WL 4876784, at *3 (S.D.N.Y. Oct. 12, 2012)).

       Here, Vale seeks only targeted categories of documents relevant to the proprietary claims

asserted in the English Proceedings. Specifically, Vale is seeking documents related to real

estate transactions between the Respondents and the Defendants and their parents, subsidiaries,

affiliates, beneficiaries, and agents in order to ascertain whether the $500 million fraudulently

obtained from Vale was used in the purchase, financing, or sale of any of these real estate assets,

and where the traceable proceeds of the $500 million payment are today.

                                          CONCLUSION

       For the foregoing reasons, Vale respectfully requests that this Court enter an Order

pursuant to Section 1782 granting leave to serve the Subpoenas attached as Exhibits A-II to the

Declaration of Jeffrey A. Rosenthal.
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 Dated: April 24, 2020
 New York, New York

                         CLEARY GOTTLIEB STEEN & HAMILTON LLP


                         /s/ Jeffrey A. Rosenthal

                         Jeffrey A. Rosenthal
                         Lisa M. Schweitzer
                         Lisa Vicens
                         One Liberty Plaza
                         New York, New York 10006
                         Telephone: (212) 225 2000

                         Attorneys for Vale S.A, Vale Holdings B.V., and
                         Vale International S.A.




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                                     APPENDIX A


                Entity                          Addresses Listed in Public Property Filings

HFZ Capital Group LLC                  600 Madison Avenue, Floor 15, New York, NY 10022
Ziel Feldman                           600 Madison Avenue, Floor 15, New York, NY 10022
Helene Feldman                         600 Madison Avenue, Floor 15, New York, NY 10022
Feldman Family 2007 Trust              c/o Ziel and Helen Feldman, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
Nir Meir                               600 Madison Avenue, Floor 15, New York, NY 10022
John Shannon                           600 Madison Avenue, Floor 15, New York, NY 10022
Kenneth Henderson                      c/o Bryan Cave Leighton Paisner LLP, 1290 Avenue of the
                                       Americas, New York, NY 10104
Bryan Cave Leighton Paisner LLP        1290 Avenue of the Americas, New York, NY 10104
Chatsworth Realty 340 LLC              c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
HFZ 344 West 72nd Street Owner LLC     c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
Chatsworth Realty Corp.                c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
215 Chrystie LLC                       40 West 57th Street, Suite 1620, New York, NY 10019
HFZ 40 Broad Street LLC                c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
HFZ Highline Property Owner LLC        c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
HFZ Highline Retail Owner LLC          c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
HFZ Highline LLC                       c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       17, New York, NY 10022
HFZ 501 West LLC                       c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
20 West 40 Bryant Park Owner LLC       c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
HFZ Bryant Park Owner LLC              c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                       15, New York, NY 10022
Tarpley Belnord Corp.                  c/o Kenneth Henderson, Bryan Cave Leighton Paisner
                                       LLP, 1290 Avenue of the Americas, New York, NY 10104



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Perfectus Real Estate Corp.          c/o Gregg Blackstock, 555 Madison Avenue, Floor 5, New
                                     York, NY 10022
HFZ 235 West 75th Street Owner LLC   c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ 301 West 53rd Street Owner LLC   c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ 88 Lexington Avenue Owner LLC    c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ 90 Lexington Avenue Owner LLC    c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ KIK 30th Street Owner LLC        c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ West 30th Street Partners LLC    c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ KIK 30th Street LLC              c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
HFZ KIK 30th Street Mezzanine LLC    c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
                                     15, New York, NY 10022
76 Eleventh Avenue Property Owner    c/o HFZ Capital Group LLC, 600 Madison Avenue, Floor
LLC                                  15, New York, NY 10022
Fine Arts NY LLC                     200 West 41st Street, Suite 403, New York, NY 10036

RFR Holding LLC                      390 Park Avenue, New York, NY 10022
Aby Rosen                            390 Park Avenue, New York, NY 10022
R&S Chrysler LLC                     c/o RFR Holding LLC, 390 Park Avenue, New York, NY
                                     10022
RFR Realty LLC                       400 Park Avenue, Suite 601, New York, NY 10022




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